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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

NATIONAL URBAN LEAGUE, et al.,

                         Plaintiffs,

       v.                                                    Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                         Defendants.


                                   DECLARATION OF JOHN PELLER

           I, John Peller, declare as follows pursuant to 28 U.S.C. § 1746:

           1.     I am the President and CEO for AIDS Foundation of Chicago (“AFC”), a not-for-

profit 501(c)(3) organization based in Chicago, Illinois, that mobilizes communities to create

equity and justice for people living with and vulnerable to the human immunodeficiency virus

(“HIV”) or chronic conditions. I have served in this capacity since September 9, 2014.

           2.     I am submitting this Declaration in support of Plaintiffs’ Motion for a Preliminary

Injunction to prevent Defendant agencies from enforcing Executive Order No. 14151, titled

“Ending Radical and Wasteful Government DEI Programs and Preferencing” (“Anti-Diversity1

Order”), issued January 20, 2025; 1 Executive Order No. 14168, titled “Defending Women from

Gender Ideology Extremism and Restoring Biological Truth to the Federal Government” (“Anti-

Gender Order”), issued January 20, 2025; 2 and Executive Order No. 14173, titled “Ending Illegal




       1
         Exec. Order No. 14151, Ending Radical and Wasteful DEI Programs and Preferencing,
90 Fed. Reg. 8339 (Jan. 20, 2025).
       2
         Exec. Order No. 14168, Defending Women From Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).
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Discrimination and Restoring Merit-Based Opportunity” (“Anti-Diversity2 Order”), issued

January 21, 2025 3 (collectively the “Executive Orders”).

           3.   As a service organization working with and for people living with or vulnerable to

HIV, we feel a responsibility to bring our collective knowledge about the HIV epidemic to bear in

this current moment. In recognition of the harms we are still working to overcome, we want this

knowledge to help avoid repeating mistakes of the past. In the early days, silence about HIV was

the hallmark of the federal government’s response to the epidemic. Today, the same federal

government seeks to silence us yet again as we work to address some of the root causes of HIV—

institutional and societal racism and discrimination against gender-nonconforming people,

including gay men and transgender people.

           4.   When AIDS entered the public consciousness in 1981, it was first identified as an

ailment affecting gay, white men in New York and San Francisco. During this period, the virus

was falsely characterized as a “gay cancer” and then “gay-related immunodeficiency disorder” (or

“GRID”), which pathologized an entire community, and placed the blame of a public health crisis

at the feet of queer people already facing discrimination and bigotry. For Haitian immigrants,

injection drug users, and sex workers—communities who were also heavily impacted by AIDS—

the focus on gay, white men meant overlooking these other marginalized communities.

           5.   Due to systemic racism, homophobia, transphobia, and misogyny against the

groups most affected by HIV—which included Black and Latina women, transgender women, and

Black and Latino gay men—health outcomes were dire. Structural inequities affecting these

groups compounded the problem and as a result, the response to the HIV epidemic over the first




       3
       Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633 (Jan. 21, 2025).

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decade was mostly apathy and silence. As fatalities grew in cities across the country, governments

at all levels largely ignored the problem. It took over four years (until 1985) and the impending

death of actor Rock Hudson before President Ronald Reagan even mentioned AIDS in response

to a reporter’s direct question, and it took until 1987 before he gave a major address about it.

         6.      After watching their friends die around them in increasing numbers, while the

government and public largely ignored the plague attacking their communities, activists formed

the AIDS Coalition to Unleash Power (“ACT UP”) in New York City in March 1987. With the

battle cry of “Silence=Death,” ACT UP took to the streets with confrontational and controversial

protest activities to bring attention to the ongoing public health crisis and the apathy about the

deaths of thousands of people.

         7.      As a movement, we hope to never be silent again. We know the consequences.

We have seen the harm. We have suffered enough from apathy and silence. The work done by

activists across the nation pushed the government to take real action to address the growing

epidemic and undoubtedly saved thousands of lives in the process. We are still fighting the battle

that they initiated in those dark years.

         8.      The HIV advocacy movement did not get everything right in that first decade, and

we are still striving to do better. Many movement leaders did not acknowledge or address the

significant impact HIV has, and continues to have on Black people, Latino people, transgender

people, and cisgender women. The failure to recognize these disproportionate impacts—and the

biases and structural inequities they stem from—has contributed to the HIV-related disparities for

these groups that exist today. We know that we must keep talking about them—we cannot be

silent—because that is the only path to addressing these disparities and preventing more




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unnecessary deaths. Yet the Trump Administration’s Executive Orders at the heart of this legal

case are forcing us to be silent.

         9.      The Anti-Gender Order directly impedes our ability as an HIV services

organization to effectively serve the transgender community—a group disproportionately

impacted by HIV and identified by our organization as a priority community. In the United States,

21.6% of transgender women are living with HIV, which is orders of magnitude higher than other

populations.

         10.     The Anti-Gender Order’s language prevents recipients of federal funds from

recognizing transgender identities or acknowledging that a person’s gender identity may differ

from their sex assigned at birth. This restriction renders impossible our ability to provide culturally

competent and affirming services, including targeted HIV prevention, testing, outreach, and

treatment services that are critical for transgender individuals. Thus, the Anti-Gender Order not

only undermines our mission to combat HIV among vulnerable populations but also contributes to

further marginalization of a community already facing significant health disparities.

         11.     We already are feeling the effects of this Executive Order. On February 13, 2025

AFC attended a meeting held by an HHS contractor about a program under which AFC is a

subcontractor. The program officer informed AFC about changes required by HRSA to comply

with the Executive Orders. Specifically, HRSA instructed that (1) the term “gender” must be

replaced with “sex” in our program materials; (2) all references to “gender-affirming care” must

be removed; and (3) the acronym “LGBTQIA” must be changed to “LBG.”




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           12.   According to Becasen et al. (2023) 4, just 67% of transgender women are virally

suppressed nationally. That rate is far lower than the 90% rate AFC achieves among people living

with HIV who are receiving case management funded by the Ryan White Program. AFC’s

Welcome Home program helps people living with HIV who are leaving prison or jail connect with

stable housing, and transgender women are disproportionately represented in this population.

Homelessness is extremely high among transgender people; a CDC report indicated that 31% of

transgender people in one survey reported being unhoused for up to 11 months in the previous

year. 5 The Welcome Home program contains elements that are tailored to transgender women

because acknowledging that they are transgender and identifying services that are welcoming to

transgender people is vital to their health and safety. For example, AFC must refer transgender

people to healthcare providers who have received transgender cultural competency training and

medical training in providing healthcare services to transgender people. Medical providers make

transgender clients comfortable with disclosing their transgender status through actions such as

using their chosen name and correct pronouns. If transgender people do not disclose their

transgender status, important health conditions could be missed; for example, older transgender

women who have prostates need regular screening to detect cancer. Identifying housing for

transgender people requires special considerations because they must be placed in neighborhoods




       4
          Jeffrey S Becasen et al., HIV Care Outcomes Among Transgender Persons with HIV
Infection in the United States, 2006-2021, 36 AIDS 305-15 (2022).
        5
          Ruthanne Marcus, et al., Transgender Women Experiencing Homelessness — National
HIV Behavioral Surveillance Among Transgender Women, Seven Urban Areas, United States,
2019–2020, 73 MMWR Suppl 40-50 (Jan. 25, 2024).

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where they will be safe, since “transgender people are over four times more likely than cisgender

people to experience violent victimization”, according to the Williams Institute. 6

           13.   Finally, under the Anti-Gender Order, Chicago, Cook County and Illinois public

health officials are likely to be unable to collect data and report on the number of transgender

people newly diagnosed or living with HIV, as the officials have done for decades through routine

HIV surveillance activities. This data is crucial for AFC and our partner organizations to identify

outbreaks of HIV among key populations, including transgender people, and to develop

programming to respond to outbreaks, such as targeted HIV testing and other programs that will

engage transgender people in programs that will give them reasons to engage in behaviors that will

improve their health.

           14.   And, like the HIV epidemic has done for decades, the COVID-19 pandemic and

the mpox outbreak have once again exposed health disparities that persist for Black, Indigenous,

and Latino communities in this country. These recent health crises illustrate how the same

disparities occur almost 40 years later. HIV advocates have a moral obligation to speak up, to

declare the truth about the root causes of these inequities, and to do our part to overcome their

effects. Yet these recent executive orders force us to make an impossible choice. We could use

our voice to combat these inequities by training our staff and community on racism, anti-LGBTQ

bias and discrimination; acknowledging the existence of transgender people and seeking to support

them; directing our services to populations disproportionately affected by public health crises and

systemic inequities; and engaging in related advocacy central to our mission—or we can forfeit




       6
         Press Release, Williams Institute, Transgender people over four times more likely than
cisgender people to be victims of violent crime (Mar. 23, 2021),
https://williamsinstitute.law.ucla.edu/press/ncvs-trans-press-release/ (last visited Feb. 18, 2025).

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the federal funds that provide life-saving services for people living with and at higher risk for HIV.

This choice is simply unacceptable.

        15.     We cannot be silenced by our own government when silence equals death.



        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



 Executed:
                                                                      John Peller
                                                               President and CEO, AFC




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